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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Civil Action No. 04-cv-1067-REB-CBS

   WILLIAM R. CADORNA,

          Plaintiff,

   v.

   CITY AND COUNTY OF DENVER, COLORADO, a municipal corporation,

        Defendant.
   ______________________________________________________________________

       PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR RELIEF FROM
      JUDGMENT OF REINSTATEMENT AND RENEWED MOTION FOR STAY OF
                JUDGMENT OF REINSTATEMENT (Docket No. 237)
   ______________________________________________________________________

          Plaintiff, William R. Cadorna (“Plaintiff” or “Mr. Cadorna”) hereby responds to the

   June 7, 2007 Motion for Relief from Judgment of Reinstatement Pursuant to

   Fed.R.Civ.P. 60(b)(2) and 60(b)(6), and Renewed Motion for Stay of Judgment of

   Reinstatement (“Motion”, Docket Number 237) filed by Defendant City and County of

   Denver (“Defendant” or “City”):

   I.     THE CITY HAS WAIVED ITS RIGHT TO DISPUTE THE TERMS OF, OR
          IMPOSE CONDITIONS UPON, PLAINTIFF’S REINSTATEMENT.

          Defendant’s motion is frivolously dilatory. It was filed for the purposes of

   oppression and delay. It represents an attempt to re-litigate issues already decided by

   this Court in Plaintiff’s favor, or to raise issues Defendant failed to raise in a timely

   fashion before, or after, trial or judgment. Defendant unsuccessfully asserted prior to or

   during trial the very “defenses” to liability or relief that it now asserts as specious
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   grounds for avoiding Plaintiff’s reinstatement one full year after the jury’s verdict and

   seven months after entry of judgment.

          Prior to trial, Defendant relied heavily upon Plaintiff’s hearing disability as

   grounds for avoiding liability. On the one hand, it argued in its motion(s) for summary

   judgment (supported for the most part by precisely the same disability retirement

   application upon which it now relies—hardly “new evidence”) that Plaintiff’s disability

   retirement precluded liability under the ADEA. On the other hand, it argued in its

   motion(s) for summary judgment that Plaintiff’s hearing loss does not substantially

   impair him in the major life activity of working (as a firefighter or otherwise), and that his

   ADA claims must therefore be dismissed. This Court declined to rule that Plaintiff’s

   disability retirement precluded Defendant’s liability under the ADEA, and permitted

   those claims to proceed to trial. This Court agreed, however, that Plaintiff’s hearing

   disability did not rise to the level of a disability within the meaning of the ADA, and

   dismissed Plaintiff’s ADA claims prior to trial.

          At trial, Defendant argued that it should be excused from its stated reliance upon

   Plaintiff’s age to deny him reinstatement, because of its asserted additional reliance

   upon Plaintiff’s disability retirement after his termination. Obviously, the jury rejected

   this explanation, as meaningless in the face of Defendant’s express reliance upon his

   age in refusing to reinstate him, and/or because it found this explanation to be a pretext

   for age discrimination.

          Post-trial, Plaintiff moved for front pay in lieu of reinstatement because of his

   well-founded concern (now further reinforced by Defendant’s Motion to bar his



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   reinstatement or damages in lieu of reinstatement) that Defendant is incapable of

   treating him fairly and lawfully in the event he returns to work. In its August 7, 2006

   Response to Plaintiff’s Motion for Entry of Partial Judgment for Front Pay in Lieu of

   Reinstatement, Defendant stated its view that neither reinstatement nor front pay would

   be appropriate (page 1), and noted its intent “to file at least one post-judgment motion in

   the form of a renewed motion for judgment as a matter of law, or in the alternative, a

   new trial, in which it may present arguments concerning the issue of reinstatement,

   depending on what the judge ultimately orders.” (Defendant’s August 7, 2006

   Response, page 2, footnote 1). At the same time, Defendant insisted that Plaintiff

   should be required to accept reinstatement. Defendant did not move that Plaintiff’s

   reinstatement be conditioned upon a unilateral determination by Defendant, or

   physicians or other personnel in its employ, that Defendant is physically,

   psychologically, or otherwise fit to return to his work as a firefighter. This Court granted

   Defendant’s request, yet Defendant now seeks to avoid the very thing it demanded.

          At no time prior to trial, nowhere in its August 7, 2006 Response, and at no time

   prior to this Court’s November 27, 2006 Order granting judgment and ordering Plaintiff’s

   reinstatement, did Defendant: (1) allege, attempt to litigate before this Court, or prove to

   the trier of fact, that Plaintiff is physically unfit for reinstatement; (2) move for the

   imposition of any conditions (such as a determination of fitness for duty by physicians or

   other personnel in Defendant’s employ) upon Plaintiff’s reinstatement.

          Moreover, whereas Defendant attempted in its August 7, 2006 Response to

   preserve its right to object to Plaintiff’s reinstatement post-judgment, and in its



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   December 11, 2006 Motion for Judgment as a Matter of Law argued that its refusal to

   reinstate Plaintiff was not a violation of the ADEA, Defendant failed to include any

   objection to Plaintiff’s reinstatement on account of his hearing disability in its post-

   judgment motions, or to request in its post-judgment motions that this Court impose any

   conditions upon Plaintiff’s reinstatement.

          It is undisputed that, in full compliance with this Court’s November 27, 2006

   Order, Plaintiff notified Defendant in writing “on or before December 31, 2006” of his

   desire to be reinstated “as of the date of the jury’s verdict on June 29, 2006, to the

   position, rank, salary, and benefits he enjoyed at the time of his unlawful termination”.

   (November 27, 2006 Order, page 5, paragraph 9). Plaintiff has fully complied with the

   sole condition upon his reinstatement imposed by this Court. Yet, to this day, Plaintiff

   has neither been reinstated in accordance with this Court’s November 27, 2006 Order,

   nor compensated for the earnings and benefits he has lost because of Defendant’s

   contemptuous refusal to reinstate him retroactive to June 29, 2006.

          Defendant’s Motion is a transparent effort to escape the consequences of its

   previous failure to seek a stay on the equitable relief of reinstatement pursuant to

   Fed.R.Civ.P. 62(c). Defendant seeks to avoid the consequences of its previous failure

   to raise this issue by pouring old wine into new bottles, and sophistically characterizing

   Plaintiff’s reasonable reluctance to subject his hard-won reinstatement to Defendant’s

   unbridled discretion as “newly discovered evidence which by due diligence could not

   have been discovered in time to move for new trial under Rule 59(b)”.                Plaintiff’s

   reluctance to grant Defendant discretion concerning his reinstatement is neither newly



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   discovered, nor evidence, and was in any event well known to Defendant long before

   the deadline for filing of post-judgment motions under Rule 59(b).

          As Plaintiff has previously argued, Defendant only sought a stay on execution of

   the money damages component of this Court’s judgment, and thereby waived its right to

   seek a stay on Plaintiff’s reinstatement. As Plaintiff has also argued previously, even if

   Defendant had sought a stay on the equitable relief of reinstatement, this Court would

   be required to deny a stay of reinstatement for the very important reasons upon which

   the court relied in Dutton v. Johnson County Commissioners, 884 F.Supp. 431, 434-35

   (D.Kan. 1995). Citing EEOC v. Los Angeles County, 531 F.Supp. 122 (C.D.Cal. 1982),

   for the proposition that “[a] denial of a plaintiff’s rights under federal law, even if only

   during the pendency of appellate proceedings, constitutes a real and substantial injury

   to him”, the court in Dutton denied a Rule 62(c) stay on reinstatement of a successful

   ADEA plaintiff. Id. See, also, Hillman v U.S. Postal Service, ___ F.Supp.2d ___, 2001

   U.S. Dist. LEXIS 22409 (D.Kan. 2001)(also denying Rule 62(c) stay on reinstatement

   pending appeal in a discrimination case).

   II.    PLAINTIFF HAS NEVER REJECTED AN UNCONDITIONAL OFFER OF
          REINSTATEMENT. EVEN IF HIS ACTIONS COULD BE CONSTRUED AS
          REJECTION, HIS REJECTION WAS REASONABLE. DEFENDANT HAS
          THROUGH SUBTERFUGE ATTEMPTED TO DISGUISE ITS OWN DILATORY
          REFUSAL TO COMPLY WITH THIS COURT’S ORDER OF REINSTATEMENT
          AS THE CONSEQUENCE OF SOME MISCONDUCT BY PLAINTIFF.

          This Court’s November 27, 2006 Order imposed no conditions upon Plaintiff’s

   reinstatement, other than his submission of a written request for reinstatement. Though




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   Plaintiff indisputably complied with that single condition upon his reinstatement,

   Defendant has never complied with, and is in contempt of, this Court’s Order.

          Instead, in its May 1, 2007 letter to the undersigned, Defendant made a highly

   conditional “offer” to reinstate Plaintiff. (Exh. D, Defendant’s June 7, 2007 Motion).

   Defendant attempted to arrogate to itself full discretion to determine whether Plaintiff will

   be reinstated, after Plaintiff submits to a battery of medical and psychological tests

   conducted by physicians, psychologists, or other personnel or other entities highly

   vulnerable to undue influence by Defendant.

          A discrimination plaintiff is not obligated to accept such a highly conditional offer

   of reinstatement prior to trial in mitigation of his damages, and may not be denied

   reinstatement or front pay after successful adjudication on the merits because he rejects

   such a highly conditional offer of reinstatement. Ford Motor Co. v. Equal Employment

   Opportunity Commission, 458 U.S. 219 (1982); Albert v. Smith’s Food & Drug Centers,

   Inc., 356 F.2d 1242, 1253-54 (10th Cir. 2004); Giandonato v. Sybron Corp., 804 F.2d

   120 (10th Cir. 1986); E.E.O.C. v Prudential Federal Sav. & Loan Ass'n, 763 F.2d 1166

   (10th Cir. 1985); Graefenhain v Pabst Brewing Co., 870 F.2d 1198, 1204 (7th Cir.

   1989); Herrera v. IBEW Local 68, 228 F.Supp.2d 1233, 1246 (D.Colo. 2002); Xiao-Yue-

   Gu v. Hughes STX Corp., 127 F.Supp.2d 751, 756-58 (D.Md. 2001)(plaintiff reasonably

   rejected post-judgment offer of reinstatement that was insufficiently definite and secure);

   Eichler v. Riddell, Inc., 961 F.Supp. 211, 212 (N.D. Ill. 1997)(successful plaintiff

   reasonably rejected “half-hearted offer of reinstatement post-judgment in lieu of front

   pay awarded by court); Fair v. Red Lion Inn, 943 P.2d 431 (Colo. 1997).



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           Defendant seeks to mislead this Court into believing that, prior to May 1, 2007,

   Plaintiff made no effort to be reinstated to his position, and that Defendant simply took

   the initiative to move Plaintiff’s reinstatement along in the face of inaction by Plaintiff.

   Nothing could be less true. Plaintiff’s undersigned counsel has repeatedly requested or

   suggested in oral and written communications with Defendant’s counsel that Defendant

   comply with its obligation to reinstate Plaintiff pending resolution of other issues, such

   as total damages and fees, by this Court. [Exh. 1, attached, copies of April 18, 2007,

   February 2, 2007, January 8, 2007 (16:19) and January 8, 2007 (11:56) electronic mails

   from Plaintiff’s counsel to Defendant’s counsel].

          In his communications with Defendant’s counsel prior to May 1, 2007, Plaintiff’s

   undersigned counsel made abundantly clear to Defendant’s counsel that he would

   vigorously oppose any effort by Defendant to reserve to itself or to its minions the

   judgment whether Plaintiff may be reinstated. Not until its May 1, 2007 letter to the

   undersigned did Defendant respond in any way to Plaintiff’s repeated entreaties to be

   reinstated and fully compensated for additional lost earnings accrued since June 29,

   2006. Defendant sent its May 1, 2007 letter with full knowledge (indeed, undoubtedly

   with the full intent) that Plaintiff would deny Defendant’s right to impose conditions of

   Defendant’s choosing on Plaintiff’s reinstatement. Defendant could not have been

   surprised in the least by the undersigned’s May 16, 2007 response1 (Exh. E,

   Defendant’s June 7, 2007 Motion), for it simply reiterated points of law or fact made in



   1
    Delayed considerably by the death of the undersigned’s father-in-law on May 1, 2007 and consequent
   extended absence from Colorado, thereafter.


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   previous oral or written communications concerning Defendant’s obligation to reinstate

   Plaintiff.

           It should be apparent to this Court, as it was to the undersigned, that Defendant’s

   May 16, 2007 letter did not constitute a good faith effort by Defendant to comply with

   this Court’s Order of reinstatement, but instead represented the first step in a

   characteristically devious scheme by Defendant to rely upon its minions in the medical

   or psychological professions2 to provide it with a further pretext for retaliatorily refusing

   to reinstate or further compensate Plaintiff for his continued unemployment.

           Were Defendant proceeding in good faith to serve the public interest, it would

   have immediately complied with the order of reinstatement, so as to minimize the

   accrual of additional damages. In the event of demonstrated deficiencies in Mr.

   Cadorna’s abilities or performance after his return to work, Defendant might subject him

   to scrutiny to the same extent such scrutiny would be permitted in the case of any

   similarly situated Denver Firefighter. Of course, as Defendant knows quite well, it has in

   recent years been forced to abandon a number of physical strength and agility tests that

   it formerly used to harass Mr. Cadorna and other disfavored (particularly female)

   Firefighters, and is severely constrained in its ability to subject current Firefighters to

   involuntary medical, physical or psychological tests without risking well-founded charges

   of discrimination or retaliation. Were it to reinstate Mr. Cadorna as required by this

   Court’s November 27, 2006 Order, Defendant would as a practical matter lose its ability



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    Who, one may suppose, are no less eager to please the City at the expense of their integrity than are its
   minions in the City Attorney’s Office or Civil Service Commission.


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   to force his termination or retirement on the basis of some alleged physical, medical, or

   psychological deficiency.

          Defendant therefore seeks its only practicable opportunity to foreclose Mr.

   Cadorna’s further employment or accrual of damages by persuading this Court, through

   appeals to inchoate matters of “public policy” or “public safety”, to permit it full,

   practically unfettered discretion to forestall Mr. Cadorna’s reinstatement in reliance upon

   a fraudulent assessment by its minions (according to standards to which he was never

   before subject while employed as a Firefighter) that he is not fit to return to work. In

   attempting to foreclose Mr. Cadorna’s reinstatement, Defendant seeks permission to

   subject Mr. Cadorna to highly intrusive and invasive medical, physical and psychological

   screening to which it would not be allowed to subject Mr. Cadorna were he returning

   from FMLA leave or requesting accommodation under the ADA or Rehabilitation Act.

          Were this Court to bless such a sham, Mr. Cadorna’s ability to sue Defendant for

   disability discrimination or retaliation upon being refused reinstatement by Defendant

   would also be undermined severely. That is Defendant’s actual goal. The extraordinary

   lengths to which Defendant has already gone to destroy Mr. Cadorna leave little doubt

   concerning its true intentions.

          Were Defendant proceeding in good faith, it would not attempt to seize upon Mr.

   Cadorna’s reliance upon mere hearing loss in his March 13, 2003 disability retirement

   application as grounds for seeking permission to subject him to highly intrusive and

   invasive medical, physical and psychological screening that would go far, far beyond

   what would be required to determine whether his hearing loss may impede his



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    functioning as a Firefighter. Of course, Defendant knows quite well that Mr. Cadorna,

    and many other Firefighters, are able to perform their duties well notwithstanding such

    hearing loss, and that it would not be able to support denial of his reinstatement on the

    basis of his hearing loss alone. After all, until the day of his termination, he successfully

    performed the duties of a Denver Firefighter despite his hearing loss.

           Were Defendant proceeding in good faith, it would not have responded to the

    undersigned’s letter of May 16, 2007 with this Motion, in which it falsely alleges that

    Plaintiff “refused” reinstatement. Plaintiff never rejected an unconditional offer of

    reinstatement. In fact, Plaintiff simply expressed well-founded doubt, with reference to

    governing case law, that Defendant is entitled to impose conditions upon his

    reinstatement:

           1.     It is well settled that anything less than an unconditional offer of
                  reinstatement fails to toll the accrual of back pay. In Ford Motor
                  Co. v. Equal Employment Opportunity Commission, 458 U.S. 219,
                  102 S. Ct. 3057, 73 L. Ed. 2d 721 (1982), the United States
                  Supreme Court held that an employer who is charged with
                  discrimination in hiring may toll the continuing of back pay damages
                  by unconditionally offering the plaintiff the job that was previously
                  denied. In Orzel v. City of Wauwatosa Fire Dep't, 697 F.2d 743,
                  757 (7th Cir.), cert. denied, 464 U.S. 992, 104 S. Ct. 484, 78 L. Ed.
                  2d 680 (1983), the court held that, under the ADEA, it was not
                  unreasonable for the plaintiff to believe that the defendant's
                  reinstatement offer was not unconditional because it "was expressly
                  conditioned upon [the plaintiff's] taking and passing a physical
                  exam arranged by the [defendant]." Reinstatement to restore the
                  status quo ante after a jury verdict and final judgment of unlawful
                  termination must a fortiori be unconditional. To the extent it is not,
                  back pay (or front pay, if you prefer) continues to accrue.

    Defendant did not attempt to resolve its differences with Plaintiff concerning its right to

    impose conditions upon Plaintiff’s reinstatement. Defendant did not seek to negotiate



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    a more reasonable and defensible compromise position, such as certification by

    Plaintiff’s personal physician that he meets the stated requirements of the position of

    Denver Firefighter.3 Defendant completely ignored Plaintiff’s reasonable inquiry

    concerning its intent to make Plaintiff whole for unpaid wages and benefits retroactive to

    June 29, 2006, and expression of concern that the position offered is materially quite

    different from the position Plaintiff occupied before his termination. Defendant simply

    filed its Motion on the spurious ground that Plaintiff’s refusal to comply with the

    conditions it imposed on his reinstatement forecloses his reinstatement or, in the

    alternative, accrual of back and front pay. Even if Defendant’s offer of reinstatement

    were unconditional, Plaintiff’s alleged rejection of it would be reasonable because of

    Defendant’s complete lack of good faith and Defendant’s failure to address Plaintiff’s

    quite legitimate concerns with respect to the position offered. This is not a case in

    which a plaintiff has unreasonably rejected an unconditional offer of reinstatement for

    personal reasons that cannot be blamed upon the defendant. Cf. Stanfield v.

    Answering Service, Inc., 867 F.2d 1290, 1295 (11th Cir. 1989).

    III.    THE ADA CASES CITED BY DEFENDANT ARE NOT CONTROLLING, AND IN
            ANY EVENT ESTABLISH A PRESUMPTION IN FAVOR OF REINSTATEMENT
            THAT DEFENDANT HAS FAILED TO OVERCOME.

            Defendant cites two Eighth Circuit ADA decisions, Thomlison v. City of Omaha,

    63 F.3d 786 (8th Cir. 1995) and Doane v. City of Omaha, 115 F.3d 624 (8th Cir. 1997), to

    support its position that, at this late date, well after this case has been litigated to verdict

    and judgment, it may oppose Plaintiff’s reinstatement, or further accrual of back or front

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     Plaintiff, in acknowledging the possibility that some reasonable compromise position might exist, does
    not for a moment mean to waive his objection to the imposition of any conditions on his reinstatement.


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    pay in lieu of reinstatement, until he submits to extensive medical, psychological and

    physical screening by Defendant to determine his fitness for duty.

           These ADA cases from another jurisdiction are not controlling, and are in any

    event highly distinguishable. Moreover, far from validating Defendant’s position, they

    severely undermine it, for they establish a strong presumption in favor of reinstatement

    of an ADA plaintiff that a defendant must overcome by persuasive evidence that a

    plaintiff’s disability constitutes a special circumstance requiring additional examination

    or inquiry before reinstatement may occur.

           In both Thomlison and Doane, the plaintiff’s disability was central to the litigation,

    and its nature and extent were fully adjudicated at trial. The trial and appellate courts

    in both cases had available to them a well-developed record concerning the disabilities

    in question, and the extent to which they might or might not prevent performance of the

    essential functions of the duties of a firefighter by a woman with foot and back trouble

    (Thomlison), or the duties of a policeman by a man who had successfully performed the

    duties of a policeman for nine years despite his complete blindness in one eye (Doane).

    In neither case did the court hold that the plaintiff was absolutely foreclosed from

    reinstatement, or further accrual of back or front pay, by virtue of his or her disability. In

    Thomlison, the court reversed and remanded for a determination of the plaintiff’s fitness

    to perform the essential functions of a firefighter. In doing so, the court stated:

           We emphasize that the City retains the burden of demonstrating that
           Thomlison is unfit. If she does not currently possess the physical fitness
           necessary to perform firefighting duties, however, the district court may
           want to grant front pay or permit a provisional reinstatement conditioned
           on Thomlison obtaining the required level of fitness within a specified
           period of time.


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    63 F.3d at 790. In Doane, the court upheld the district court’s refusal to deny the

    plaintiff reinstatement because of the city’s failure to overcome the presumption that the

    plaintiff was able to perform the essential functions of a policeman, as he had

    successfully performed the duties of a policeman for nine years despite his blindness in

    one eye. If anything, Doane stands for the proposition that, given the undisputed

    evidence that Plaintiff successfully performed the essential duties of a Denver

    Firefighter despite his hearing loss, he is entitled to the presumption, which Defendant

    has failed to overcome, that he is still capable of performing those duties and must be

    reinstated forthwith.

    IV.    DEFENDANT’S POSITION AMOUNTS TO AN UNSUPPORTABLE “DIRECT
           THREAT” AFFIRMATIVE DEFENSE UNDER THE ADA THAT IT HAS NEVER
           BEFORE ASSERTED OR PROVED, AND HAS THEREFORE WAIVED.

           Though it goes to great lengths to avoid saying so, Defendant’s assertion that it

    should not be required to reinstate Plaintiff, or pay him additional back or front pay in

    lieu of reinstatement, amounts to assertion of the very narrowly drawn “direct threat”

    defense first established in cases decided under the Rehabilitation Act, e.g., School

    Board of Nassau County v. Arline, 480 U.S. 273 (1987) and later codified in the ADA, at

    42 U.S.C. §12111(3), as a “significant risk to the health or safety of others that cannot

    be eliminated by reasonable accommodation”. “Congress chose to allow an employer

    to exclude or limit an employee on this basis, but only if the employer can demonstrate

    that the actual risk associated with the individual applicant or employee is significant, in

    light of current medical and scientific knowledge, and cannot be eliminated by

    reasonable accommodations. If the individual with a disability presents only a



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    speculative or remote risk of harming another, the employer must bear that risk, in order

    to open doors to the employment of individuals with disabilities and give them the

    chance to demonstrate safe and productive job performance. Similarly, if the risk

    associated with the individual’s disability can be eliminated by reasonable

    accommodations, the employer must provide those accommodations, so long as doing

    so does not impose an undue hardship on the employer.” Understanding and

    Implementing the ADA’s Direct Threat Defense, Assoc. Prof. Ann Hubbard, 95

    Northwestern Univ. L. Rev. 1279, 1297 (2001). Because Defendant has never before in

    this litigation interposed or proved this affirmative defense to Plaintiff’s reinstatement, it

    must be deemed waived.

    V.     CONCLUSION

           Plaintiff has never rejected an unconditional offer of reinstatement. Though it lost

    this case, Defendant still seeks to have the upper hand, and reserve to itself virtually

    unbridled discretion to deny Plaintiff his hard-won reinstatement. Plaintiff is ready,

    willing and able to demonstrate his fitness to perform the duties of a Denver Firefighter

    without further delay, by returning to his former position immediately, free from any

    interference by Defendant. If, in its wisdom, this honorable Court determines that

    Plaintiff should, despite Defendant’s failure to timely request it, reasonably submit

    medical certification that he is fit to perform the duties of a Denver Firefighter as a

    condition of reinstatement, Plaintiff most respectfully requests that this Court permit him

    to obtain such certification from a physician of his sole choosing, who is in no way

    affiliated with, under contract with, or otherwise subject to the undue influence of, the



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    City and County of Denver. Moreover, even in the event Plaintiff is not certified to

    perform the duties of a Denver Firefighter, Plaintiff respectfully requests that this Court

    order Defendant to pay him back pay retroactive to June 29, 2006, and front pay until

    such time as he obtains such medical certification or he reaches the mandatory

    retirement age of 65.

           WHEREFORE, for the reasons set forth above, this Court should DENY the

    City’s Motion for Relief from Judgment of Reinstatement and Renewed Motion for Stay

    of Judgment of Reinstatement.

           Respectfully submitted this 27th day of June, 2007.

                                                        MARK E. BRENNAN, P.C.
                                                        /s/ Mark   E. Brennan
                                                        P.O. Box 2556
                                                        Centennial, CO 80161
                                                        (303) 552-9394 or (303) 797-7687

                                                        ATTORNEY FOR PLAINTIFF


                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on the 27th day of June, 2007, a true and
    correct copy of the foregoing RESPONSE TO DEFENDANT’S MOTION FOR RELIEF
    FROM JUDGMENT OF REINSTATEMENT AND RENEWED MOTION FOR STAY OF
    JUDGMENT OF REINSTATEMENT was served via the CM/ECF system on the
    following:

    Christopher M.A. Lujan
    Frank Nachman
    Assistant City Attorneys, Litigation Section
    City and County of Denver
    201 West Colfax, Department 1108
    Denver, Colorado 80202
                                                        /s/ Mark   E. Brennan


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